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                EXHIBIT 2
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                                 Proposed Timeline
                    (For Discussion on July 12, 2012 Conference)

Start (if Applicable)         Completion                      Description
7/2/2012                      10/1/2012                       Outside Experts (O/E)
                                                                begin work
                                                              Initial IDRs issued and
                                                                responses collected
                                                              Fact Finding
10/1/2012                     11/30/2012                      O/E continue Fact Finding
                                                              Complete review of initial
                                                                IDR responses
                                                              Issue follow-up IDRs
                                                              Interview requests /
                                                                Interviews (if applicable)
11/30/2012                    12/31/2012                      Issue Final IDRs and
                                                                Complete Fact Finding
                              1/31/2013                       O/E completes draft
                                                                evaluation and presents
                                                                results of analysis to IRS
                              3/8/2013                        O/E present final report to
                                                                IRS
                              4/5/2013                        IRS completes analysis and
                                                                presents conclusions to
                                                                Taxpayer
4/5/2012                      6/21/2013                       Dialogue with Taxpayer on
                                                                Issues – Determine if
                                                                Room for Resolution
                              7/1/2013                        Resolution of Issue(s) or
                                                                Issuance of 30-Day Letter
                              10/30/2013                      Statute Extension Date
Notes:
     (1) This timeline is based on the expectation that throughout fact finding process
         information requests will be communicated to Taxpayer on a rolling basis and
         that responses to IDRs will be received within 2 weeks of the IDR in question
         being issued.
     (2) For appropriate information requests (for example, nuanced requests for data
         sets), we would prefer to work proactively and openly with Taxpayer by
         engaging in direct communications with the appropriate day-to-day operational
         custodian(s) of the data to help facilitate more efficient and accurate information
         requests and responses on a real time basis.




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